                 Case 20-40036-lkg         Doc 28        Filed 04/29/20                Page 1 of 1
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    UNITED STATES TRUSTEE


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         YV                                                              &+$37(5 7

    BETTY COREY;
    JAMES FORD
                                                                         '$7( April 29, 2020
                                                                         3/$&( Benton


35(6(17 Honorable Laura K. Grandy, US Bankruptcy Judge

&2816(/)253/$,17,))          Mark Skaggs                                                 Appears

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&2816(/)25'()(1'$17 James Ford                                                          Appears

                               Charles Armgardt                                            Appears

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352&((',1*6 Motions for 2004 Exam with Objections

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 Case is called for hearing on the Motions for 2004 Exam filed by the United States Trustee with
Objections filed by James Ford. Pursuant to the statements made in open court, the Motions are
 Granted. Mark Skaggs is to submit a proposed order within 7 days. Failure to submit the order within
 the time allotted may result in this Court taking any other action deemed appropriate, which may
include granting or denying the relief sought.




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                                                       /s/Thala Krieger
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